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                           UNITED STATES DISTRICT COURT
                                           FOR THE
                                 DISTRICT OF NEW JERSEY
WENDY HARDIN,                                 :
                                              :
                      Plaintiff,              :
                                              :
              v.                              : Civ. Action No.:​____-__________
                                              :
ONEMAIN FINANCIAL GROUP, LLC, a               ​:
New Jersey foreign limited liability           ​:
company; and                                    ​:     CIVIL ACTION
ONE MAIN CONSUMER LOAN, INC., a                  :
New Jersey foreign for-profit corporation,       :
                                                 :      COMPLAINT
                      Defendants.                :


        NOW INTO COURT​, through undersigned counsel, comes the Plaintiff herein, Wendy

Hardin (“Plaintiff”), who files this Complaint for Violation of Federal Debt Collection Practices

Act (“FDCPA”) and who, with respect to same, does hereby allege, aver, depose, attest, state and

claim as follows, to-wit:

                                    I.    INTRODUCTION

1.      The plaintiff, WENDY HARDIN (“Plaintiff” or “Ms. Hardin” used interchangeably), in

this action is an individual who has been subjected to abusive, fraudulent and illegal debt

collection activities. The plaintiff seeks compensatory, and statutory damages against Collector,


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defendants, ONEMAIN FINANCIAL GROUP, LLC and ONE MAIN CONSUMER LOAN,

INC. under the FDCPA.

                                       II.     JURISDICTION

2.      This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331

(federal question jurisdiction) because Plaintiff’s claims arises under the laws of the United

States, specifically, the Fair Debt Collection Practices Act (“FDCPA”) (15 U.S.C. § 1692-1692p)

as amended by Pub. L. 111-203, tit. X, 124 Stat. 2092 (2010). Alternatively this Court has

subject matter jurisdiction over this action under 15 U.S.C. § 1692k(d).

                                             III.   VENUE

3.      Venue for this action is properly within the jurisdiction of this Court upon the ground,

inter alia, that the Plaintiff resides within this Judicial District of the United States District Court

for the District of New Jersey. Further, venue is proper within the jurisdiction of this Court upon

the ground that one of the Defendants has a registered place of business within this Judicial

District of the United States District Court for the District of New Jersey.

                                       IV.      DEFENDANTS

4.      OneMain Financial Group, LLC, a Delaware corporation (“Onemain Financial”), is a

for-profit Foreign Limited Liability Company registered to do business in the State of New

Jersey with a principal office address at 2110 Marlton Pike East, Voorhees, NJ 08003.

5.      Onemain Consumer Loan, Inc. a Delaware corporation (“Onemain Consumer Loan NJ”),

is a for-profit Foreign Limited Liability Company registered to do business in the State of New

Jersey with a principal office address at 601 NW Second Street, Evansville, NJ.




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                       V.    PLAINTIFF AND STATEMENT OF FACTS

6.       Plaintiff, Wendy Hardin, is an individual residing at 117 Franklin Drive, Voorhees, NJ

08043.

7.       In December 2016, Plaintiff began receiving numerous phone calls on a daily basis from

defendant, OneMain Financial, concerning collections for her debts with OneMain Financial

(​Exhibit A​).

6.       In March 2017, Plaintiff then began receiving frequent phone calls on a daily basis from

OneMain Consumer Loan, Inc., on behalf of its client, OneMain Financial Group, LLC, seeking

to make collections on her aforementioned debt.

7.       In April 2017, defendant, OneMain, began contacting the plaintiff at multiple times

throughout the day at her place of employment, the Department of Motor Vehicles located in

Cherry Hill, New Jersey (“Plaintiff’s Work).

8.       On several occasions, defendant’s employees called Plaintiff’s work disguising

themselves as either family members or individuals seeking to procure services related to her line

of work. After obtaining initial contact with plaintiff through this ruse, defendants would

eventually concede that the true nature of their calls were in regard to the plaintiff’s personal

debts and were unrelated to her job in any way.

9.       Plaintiff conveyed to the defendant on numerous occasions that it was highly

inappropriate to contact her at her place of work, and expressed that her employers did not

approve of such communication. However, the calls did not cease.

10.      In or around April of 2017, plaintiff received an aggressive phone call from a belligerent

agent of the defendant’s while at work. After the call was ended, plaintiff then received a text



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shortly thereafter from the same agent, disparaging her for refusing to answer or address calls

concerning her debts. (​EXHIBIT B​)

11.     In or around April of 2017, defendant’s calls were so frequent at Plaintiff’s Work, that

her employers took notice and expressed their concern.

12.     Plaintiff became so emotionally distraught that she, at one point, broke down crying

while at work, in view of her coworkers and employers.

13.     Plaintiff’s employers eventually became so incensed by the defendant’s phone calls, that

they called the defendant to complain.

                                   VI.    CAUSES OF ACTION

                              COUNT I: VIOLATION OF FDCPA

14.     Plaintiff hereby incorporates paragraphs 1- 13 above as fully set forth herein.

15.     Defendant, OneMain Financial Group, LLC, is a debt collector as defined by the FDCPA,

15 U.S.C. § 1692a(6).

16.     Defendant violated the FDCPA in its course of conduct with the plaintiff by:

        a. Directly and through its agents and employees, violated 15 U.S.C. §1692d(5) by

frequently calling the plaintiff on a daily basis.

        b. Defendant violated 15 U.S.C. § 1692d(6) by calling the plaintiff without disclosing the

caller’s true identity.

        c. Defendant violated 15 U.S.C. § 1692c(3) by calling the plaintiff repeatedly at her place

of work when it and its agents had knowledge that her employer’s prohibited such

communication.




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17.    As a result of the above violations of the FDCPA, Defendant is liable to plaintiff for her

actual damages, including out of pocket losses, emotional distress and statutory damages of

$1000.00 per incident, costs, punitive damages and attorney fees.

                                   PRAYER FOR RELIEF

       WHEREFORE​, Plaintiff respectfully prays that Defendant remove adverse credit

information from Plaintiff’s credit report and judgment be entered in her favor against the

defendant in the amount in excess of $250,000.00 including:

               A. Actual Damages;

               B. Punitive damages;

               C. Statutory Damages pursuant FDCPA violations;

               D. Costs and reasonable attorneys’ fees and;

               E. Such other further relief the Court deems just and proper.



                                             LAW OFFICES OF DAVID J. KHAWAM, LLC




Dated: June 1, 2018                          __________________________________
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